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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
ELIANA MARQUES and SAMUEL MATTHEWS Docket No.: 25-cv-03306
KELLAM,
NOTICE OF
Plaintiffs, APPEARANCE
-V.-
F & RAW STUDIOS, LLC, DANIEL SKLAAR, and
MICHAEL RUEGGER,
Defendants.
x

NOTICE OF APPEARANCE OF COUNSEL - JORDAN A. JODRE

To the Clerk of this Court and all parties of record:

Please enter the appearance of Jordan A. Jodré, Esq., a partner with the law firm of Jodre
Brenecki, LLP, and admitted to practice in the United States District Court — Eastern District of
New York, as counsel in this matter for Plaintiffs, ELIANA MARQUES and SAMUEL
MATTHEWS KELLAM.

Dated: Brooklyn, New York
June 12, 2025

JORDAN A. JODRK, Esq.
Attorneys for Plaintiff—~_
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